                           UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:

Maria Gongora,                                   :        Case No. 5:18-03534
                                                 :
                 Debtor.                         :        Chapter 7

                           NOTICE TO CREDITORS AND PARTIES IN INTEREST

         NOTICE IS HEREBY GIVEN that Robert P. Sheils, Jr., Esquire, Trustee, (“Trustee”), has filed

an Application to Retain BK Global Real Estate Services. A true and correct copy of the Agreement is

enclosed with this Notice.

         Objections to the above Application must be in writing and filed with the Clerk of the United

States Bankruptcy Court, 197 S. Main Street, Wilkes-Barre, PA, within twenty-one (21) days of the date

of this Notice (Objection date May 7, 2019) with a copy served on the Trustee at the address below. Any

filing must conform to the Rules of Bankruptcy Procedure, unless the Court determines otherwise. If

objections to the Application are filed, a hearing will be held on the Application and Objections in Court

Room #2, Max Rosenn U.S. Courthouse, 197 S. Main Street, Wilkes-Barre, Pennsylvania. If no

objections are filed, an appropriate Order may be entered.



Dated: April 23, 2019                                     /s/ Jill M. Spott, Esquire
                                                          Attorney for Trustee
                                                          108 North Abington Road
                                                          Clarks Summit, PA 18411
                                                          Phone: 570-587-2600
                                                          FAX: 570-585-0313




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